Case 2:22-cv-02722-SDW-CLW Document 8 Filed 06/24/22 Page 1 of 2 PageID: 63


Ludomir A. Budzyn
BUDZYN IP LAW LLC
120 Eagle Rock Ave, Suite 328
East Hanover, NJ 07936
Phone: 973-486-4114

Attorney for Defendant
Eventdex, LLC
                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 SCANNING TECHNOLOGIES                       )     Honorable Susan D. Wigenton
 INNOVATIONS, LLC                            )
                                             )
                                  Plaintiff, )     Civil Action No. 2:22-cv-02722-SDW-CLW
                                             )
                   Versus                    )
                                             )
 EVENTDEX, LLC                               )     DEFENDANT EVENTDEX’S NOTICE OF
                                             )     MOTION FOR JUDGMENT ON THE
                                  Defendant. )     PLEADINGS
                                             )
                                             )     Motion date: July 18, 2022
                                             )

TO: ALL COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that on July 18, 2022, or as directed by the Court thereafter,
the undersigned attorney for Defendant Eventdex, LLC (“Eventdex”) will move before the
Honorable Susan D. Wigenton, U.S.D.J., at the United States District Court, Martin Luther King
Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey, 07101, for an Order granting
its Motion for Judgment on the Pleadings.
       PLEASE TAKE FURTHER NOTICE that in support of said Motion, Defendant
Eventdex will rely upon the Memorandum of Law submitted herewith.

Dated: June 24, 2022                              Respectfully submitted,

                                                  BUDZYN IP LAW, LLC

                                                  By: /s/ Ludomir A. Budzyn
                                                          LUDOMIR A. BUDZYN, ESQ.
                                                          120 Eagle Rock Avenue, Ste. 328
                                                          East Hanover, NJ 07936
                                                          Phone: 973-486-4114
                                                          lbudzyn@budzyn-ip.com
                                                          Attorney for Defendant
                                                          Eventdex, LLC
Case 2:22-cv-02722-SDW-CLW Document 8 Filed 06/24/22 Page 2 of 2 PageID: 64


                               CERTIFICATE OF SERVICE


       I hereby certify that on this 24th day of June 2022, I caused a true and complete copy of
the annexed Notice of Motion for Judgement along with Memorandum of Law and Proposed Order
to be served on all other counsel of record through the Court’s electronic case filing system
addressed as follows:


       Mark Aaron Kriegel, Esq.
       MARK A. KRIEGEL, LLC
       1479 Pennington Road
       Ewing, N.J. 0861
       Phone: 609-883-5133
       mkriegel@kriegellaw.com


       Attorney for Plaintiff SCANNING TECHNOLOGIES INNOVATIONS, LLC




                                                   /s/ Ludomir A. Budzyn
                                                   LUDOMIR A. BUDZYN, ESQ.
                                                   lbudzyn@budzyn-ip.com
